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 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6                                          AT SEATTLE

 7
     UNITED STATES OF AMERICA,
 8
                            Plaintiff,
 9
                                                                  CASE NO. CR11-120-JCC
            v.
10                                                                DETENTION ORDER
     RICHARD LAMAR,
11
                            Defendant.
12

13
     Offense charged:
14
            Conspiracy to Distribute Marijuana, 1,000 kilograms or more
15
     Date of Detention Hearing:      May 3, 2011
16
            The court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and based
17
     upon the factual findings and statement of reasons for detention hereafter set forth, finds that no
18
     condition or combination of conditions which defendant can meet will reasonably assure the safety of
19
     any other person and the community.
20
                 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
           (1)      There is probable cause to believe defendant committed the drug offense charged in
22
                    this case. The maximum penalty for this offense is in excess of ten years. There is
23
                    therefore a rebuttable presumption against defendant as to both dangerousness and
24
                    flight risk, under 18 U.S.C. § 3142(e).
25
     DETENTION ORDER - 1
26   18 U.S.C. § 3142(i)
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 1        (2)    Nothing in the record effectively rebuts that presumption, at least as to dangerousness.

 2        (3)   Wiretaps and other evidence indicate that defendant was the principal assistant to Jacob

 3              Saul Stuart, the leader of the alleged conspiracy in this case.

 4       (4)    Defendant was repeatedly surveilled loading hockey bags containing very large

 5              quantities of marijuana into airplanes for shipment, as well as large amounts of cocaine.

 6       (5)    1,000 pounds of marijuana were recovered from the storage facility associated with his

 7              residence.

 8       (6)    He has basically admitted to law enforcement his entire role in the scheme charged in

 9              this case.

10       (7)    The Hells Angels in Canada were allegedly the source of some of the controlled

11              substances involved in the case. When some of those drugs “disappeared,” (actually,

12              they had been seized by law enforcement), defendant assisted the Hells Angels and Mr.

13              Stuart in their attempt to obtain weapons to retaliate against whoever had taken the

14              drugs.

15       (8)    The government’s information is based in part upon informants. Defendant will be able

16              to identify those informants from the discovery materials provided. If he were released,

17              the informants would be at risk.

18       (9)    Defendant is unemployed. On one form, he indicated that Mr. Stuart was his employer.

19

20       (10)   Defendant admits that he smokes marijuana on a daily basis, and that he has also

21              experimented with cocaine in the past.

22       (11)   The charges in this case carry a mandatory minimum sentence of 10 years, and a

23              maximum of life imprisonment. The prospect of such penalties would provide

24              defendant with substantial incentive to flee, if released. But his strong support in the

25
     DETENTION ORDER - 2
26   18 U.S.C. § 3142(i)
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 1              community suggests there are conditions of release which would provide reasonable

 2              assurance he would make his appearances as required. His local ties have apparently

 3              not been sufficient, however, to prevent him from becoming involved in very

 4              substantial and dangerous drug distribution activities.

 5 It is therefore ORDERED:

 6        (1)   Defendant shall be detained pending trial and committed to the custody of the Attorney

 7              General for confinement in a corrections facility separate, to the extent practicable,

 8              from persons awaiting or serving sentences or being held in custody pending appeal;

 9        (2)   Defendant shall be afforded reasonable opportunity for private consultation with

10              counsel;

11        (3)   On order of a court of the United States or on request of an attorney for the

12              Government, the person in charge of the corrections facility in which defendant is

13              confined shall deliver the defendant to a United States Marshal for the purpose of an

14              appearance in connection with a court proceeding; and

15        (4)   The clerk shall direct copies of this order to counsel for the United States, to counsel

16              for the defendant, to the United States Marshal, and to the United States Pretrial

17              Services Officer.

18        DATED this 3rd day of May, 2011.

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21
                                                      A
                                                      John L. Weinberg
                                                      United States Magistrate Judge

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25
     DETENTION ORDER - 3
26   18 U.S.C. § 3142(i)
